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                                                                       Tuesday, 31 July, 2018 09:41:16 AM
                                                                            Clerk, U.S. District Court, ILCD

                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE CENTRAL DISTRICT OF ILLINOIS
                                     AT PEORIA

UNITED STATES OF AMERICA,         )
                                  )
                  Plaintiff,      )
                                  )
vs.                               )
                                  )
ANGELA RUIZ, n/k/a ANGELA BELLOT, )
                                  )
                                  )                   CIVIL NO. 18-cv- 1283
                                  )
                  Defendant.      )

                                         COMPLAINT

      Now comes, UNITED STATES OF AMERICA, by and through its attorneys, JOHN E.

CHILDRESS, United States Attorney for the Central District of Illinois, and Assistant United

States Attorney KIMBERLY A. KLEIN, and for its cause of action alleges that:

      1. This is a civil action brought pursuant to 28 U.S.C. § 1345 to foreclose the hereinafter

            described mortgage or other conveyance in the nature of a mortgage (hereinafter

            called “mortgage”) and to join the following persons as defendants:

                ANGELA RUIZ, n/k/a ANGELA BELLOT

      2. Attached as Exhibit “A” is a copy of the mortgage; Exhibit “B” is a copy of the

            second mortgage; Exhibit “C” is a copy of the Promissory Notes secured thereby; and

            Exhibit “D” is the Notice of Acceleration.

       3.       Information concerning mortgage:

               (A).    Nature of instrument:                Mortgage

               (B)     Dates of mortgages:                  Ex. A, January 28, 2011

                                                            Ex. B, May 1, 2013
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    (C)   Name of mortgagor:                    Ex. A and B, Angela Ruiz

    (D)   Name of mortgagee:                    United States of America, United
                                                States Department of Agriculture

    (E)   Dates and place of recording:         Ex. A, January 28, 2011
                                                Ex. B, May 7, 2013, Livingston
                                                County, Illinois

    (F)   Identification of recording:          Ex. A, recorded as Doc No 607261
                                                Ex. B, recorded as Doc No 622907

    (G)   Interest subject to the mortgage:     Fee Simple

    (H)   Amount of original indebtedness,
          including subsequent advances
          made under the mortgage:              $83,137.00

    (I)   Both the legal description of the mortgaged real estate and the common
          address or other information sufficient to identify it with reasonable
          certainty:

          1.     Legal description of the mortgaged premises:

                 Lot 3, except the North 60 feet of Block 6 in Walter B. Cornell’s
                 Second Addition to Cornell, Livingston County, Illinois.
                 Tax ID: 08-08-11-333-033

          2.     Common address or location of mortgaged premises:

                 505 N Third St, Cornell, IL 61319

    (J)   Statement as to defaults and amount now due::

          1.     Date of Default is December 3, 2014.

          2.     Payments which have become due under the secured note are in
                 default and arrears in the total amount of $63,008.36.

          3.     The total amount now due is $115,244.38 as of July 23, 2018, plus
                 interest accrued thereafter, court costs, title costs, and plaintiff’s
                 attorney fees. This amount due includes the total principal and
                 interest due and payable, all outstanding advances and fees
                 charged to the defendant(s) account.




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          4.     The per diem interest accruing under the mortgage after default is
                 $12.9494.

    (K)    Name of present owner of the real estate: Angela Ruiz

    (L)   Name or names of persons, in addition to such owners, but excluding any
          non-record claimants as defined in the Illinois Mortgage Foreclosure Law,
          Chapter 735 ILCS, Section 5/15-1210, who are joined as defendants and
          whose interest in or lien on the mortgaged real estate is sought to be
          terminated.

          Not applicable

          Plaintiff’s mortgage constitutes a valid, prior and paramount lien upon the
          indicated interest in the mortgaged real estate, which lien is prior and
          superior to the right, title, interest, claim, or lien of all parties and non-
          record claimants whose interests in the mortgaged real estate are sought to
          be terminated.

    (M)   Names of defendants claimed to be personally liable for deficiency, if
          any:

          Not applicable.

    (N)   Capacity in which plaintiff brings this foreclosure: as the owner and
          legal holder of said note, mortgage, and indebtedness.

    (O)   Facts in support of shortened redemption period, if sought:

          The fair market value of the mortgaged real estate is less than 90 percent
          of the amount of the judgment requested herein and mortgagee hereby
          waives any and all rights to a personal deficiency judgment against the
          defendants.

    (P)   Facts in support of request for costs and expenses, if applicable:

          Plaintiff has been required to incur title insurance or abstract costs, and
          other expenses which should be added to the balance secured by said
          mortgage.

    (Q)   Facts in support of a request for appointment of mortgagee in possession
          or for appointment of a receiver, and the identity of such receiver, if
          sought:

          Not applicable.




                                                                                      3
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        (R) Plaintiff does not offer to mortgagor in accordance with Section 15-1402
            to accept title to the real estate in satisfaction of all indebtedness and
            obligations secured by the mortgage without judicial sale.

        (S)    Name or names of defendants whose right to possess the mortgaged real
               estate, after the confirmation of a foreclosure sale, is sought to be
               terminated and, if not elsewhere stated, the facts in support thereof:

                Angela Ruiz n/k/a Angela Bellot


                               REQUEST FOR RELIEF

Plaintiff requests:

          i.    A judgment to foreclosure such mortgage, ordering:

                      a. That an accounting may be taken under the direction of the court
                         of the amounts due and owing to the plaintiff;

                      b. That the defendants be ordered to pay to the plaintiff before
                         expiration of any redemption period (or, if no redemption period,
                         before a date fixed by the court) whatever sums may appear to be
                         due upon the taking of such account, together with fees and costs
                         of the proceedings (to the extent provided in the mortgage or by
                         law);

                      c. That in default of such payment in accordance with the judgment,
                         the mortgaged real estate be sold as directed by the court, to satisfy
                         the amount due to the plaintiff as set forth in the judgment,
                         together with the interest thereon at the statutory judgment rate
                         from the date of judgment.

                      d. That in the event the plaintiff is a purchaser of the mortgaged real
                         estate at such sale, the plaintiff may offset against the purchase
                         price of such real estate the amounts due under the judgment of
                         foreclosure and order confirming the sale;

                      e. That in the event of such sale and the failure of the person entitled
                         thereto to redeem prior to such sale pursuant to this Article, the
                         defendants made parties to the foreclosure in accordance with this
                         Article, and all non-record claimants given notice of the
                         foreclosure in accordance with this Article, and all persons
                         claiming by, through or under them, and each and any and all of
                         them, may be forever barred and foreclosed of any right, title,




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                                 interest, claim, lien or right to redeem in and to the mortgaged real
                                 estate; and

                             f. That if no redemption is made prior to such sale, a deed may be
                                issued to the purchaser thereat according to law and such
                                purchaser be let into possession of the mortgaged real estate in
                                accordance with 735 ILCS, Section 5/15-1701, et. seq.

                    ii.   An order granting a shortened redemption period, if authorized by law.

                   iii.   A personal judgment for a deficiency, if authorized by law.

                   iv.    An order granting possession.

                    v.    An order placing the mortgagee in possession or appointing a receiver.

                   vi.    A judgment for fees, costs and expenses.

                   vii.   Enforcement of its assignment of rents derived from said real estate.

               viii.      Such other relief as equity may require, including, but not limited to,
                          declaratory and injunctive relief.


                               ADDITIONAL REQUEST FOR RELIEF

       Plaintiff also requests that the judgment for foreclosure or other orders entered herein
provide for the following (pursuant to 735 ILCS Section 5/15-1506(f)):

              i.          Judicial sale conducted by the United States Marshal or his
                          representative, at which the plaintiff is entitled to bid;

            ii.           Title in the real estate may be subject, at the sale, to exceptions
                          including general real estate taxes for the current year and for the
                          preceding year which have not become due and payable as of the date of
                          entry of the judgment of foreclosure, any special assessments upon the
                          real estate, and easements and restrictions of record.

            iii.          In the event a party to the foreclosure is a successful bidder at the sale,
                          such party shall be allowed to offset against the purchase price to be paid
                          for such real estate amounts due such party under the judgment of
                          foreclosure or order confirming the sale.




                                                                                                    5
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                             UNITED STATES OF AMERICA, Plaintiff

                             JOHN E. CHILDRESS
                             UNITED STATES ATTORNEY




                             s/Kimberly A. Klein, IL Bar No. 6230077
                             Attorney for Plaintiff
                             United States Attorney’s Office
                             One Technology Plaza
                             211 Fulton Street, Suite 400
                             Peoria, Illinois 61602
                             Tel: 309-671-7050
                             Fax: 309-671-7259
                             Email: Kimberly.Klein@usdoj.gov




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                                                 Clerk, U.S. District Court, ILCD




EXHIBIT A
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s/Angela Ruiz
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EXHIBIT B
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s/
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EXHIBIT C
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                                                                                                      Account#

NOTICES. Unless applicable law requires a different method, any notice that must be given to me under this note will be
given by delivering it or by mailing it by first class mail to me at the property address listed above or at a different address if
I give the Government a notice of my different address. Any notice that must be given to the Government will be given by
mail ing it by first class mail to th e Governm ent at USDA Rural Housing Service, c/ o Customer Service Branch
  Post Office Box 66889. St, Louis, MO 63166                              ,orata differentaddress iflam givena notice ofthat
different address.

OBLIGATIONS OF PERSONS UNDER THIS NOTE. If more than one person signs this note, each person is fully and
personally obligated to keep all of the promises made in this note, including the promise to pay the full amount owed.
Any person who is a guarantor, surety, or endorser of this note is also obligated to do these things. The Government
may enforce its rights under this note against each person individually or against all of us together. This means that any
one of us may be required to pay all of the amounts owed under this note. The term "Borrower" shall refer to each
person signing this note.

WAIVERS. I and any other person who has obligations under this note waive the rights of presentment and notice of
dishonor. "Presentment" means the right to require the Government to demand payment of amounts due. "Notice of
dishonor" means the right to require the Government to give notice to other persons that amounts due have not been paid.

WARNING: Failure to fully disclose accurate and truthful financial information in connection with my loan
application may result in the termination of program assistance currently being received, and the denial of
future federal assistance under the Department of Agriculture's Debarment regulations, 7 C.F.R. part 3017.


                                                                 ---------------- Seal
                                                                                   Borrower

---------------- Seal                                            ---------------- Seal
                    Borrower                                                       Borrower




I         AMOUNT               DATE
                                             RECORD OF ADVANCES
                                                  AMOUNT                 DATE               AMOUNT                  DATE
                                                                                                                                 I
11 )'!;                                      (8) $                                    1(15) $
f2H                                          /9) $                                    1/16) $
(3) $                                       (10 )$                                     <17) $
/4) $                                       (I 1) $                                    (18) $
(5) $                                       /12) $                                     (19) $
(6)$                                        (13) $                                     (20) $
(7) $                                       (14) $                                     (21) $

I                                                                                    TOTAL      $                                 I




                                                                 3
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EXHIBIT D
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                                                                   CIVIL Page
                                                                         COVER     SHEET
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                                                                                                                                   Tuesday, 31 July, 2018 09:41:16 AM
                                          (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
                                                                                                                                        Clerk, U.S. District Court, ILCD
I. (a) PLAINTIFFS                                                                                 DEFENDANTS



  (b)
                         (EXCEPT IN U.S. PLAINTIFF CASES)                                                                      (IN U.S. PLAINTIFF CASES ONLY)




  (c)           (Firm Name, Address, and Telephone Number)                                                     (If Known)




II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                               III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                              (For Diversity Cases Only)                                   and One Box for Defendant)
                                                                                                                       PTF        DEF                                     PTF      DEF
                                       (U.S. Government Not a Party)                                                                                 or


                                                                                                                                                     and
                                       (Indicate Citizenship of Parties in Item III)




IV. NATURE OF SUIT (Place an “X” in One Box Only)
         CONTRACT                                         TORTS                             FORFEITURE/PENALTY                       BANKRUPTCY                 OTHER STATUTES
                                PERSONAL INJURY                 PERSONAL INJURY



                                                                                                                                PROPERTY RIGHTS




                                                                                                     LABOR                      SOCIAL SECURITY
                                                              PERSONAL PROPERTY




        REAL PROPERTY             CIVIL RIGHTS               PRISONER PETITIONS                                                 FEDERAL TAX SUITS
                                                              Habeas Corpus:




                                                                                                IMMIGRATION
                                                                Other:




V. ORIGIN (Place an “X” in One Box Only)

                                                                                                                   (specify)
                                                                                            (Do not cite jurisdictional statutes unless diversity)

VI. CAUSE OF ACTION

VII. REQUESTED IN                                                 CLASS ACTION              DEMAND $
     COMPLAINT:                                                                                                                         JURY DEMAND:
VIII. RELATED CASE(S)
      IF ANY                        (See instructions):




FOR OFFICE USE ONLY
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                  INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44




I.(a)   Plaintiffs-Defendants.


  (b)   County of Residence.


  (c)   Attorneys.


II.     Jurisdiction.




                                                        .            ; NOTE: federal question actions take precedence over diversity
        cases.

III.    Residence (citizenship) of Principal Parties.


IV.     Nature of Suit.



V.      Origin.




VI.     Cause of Action.                                                                                       Do not cite jurisdictional
        statutes unless diversity.

VII.    Requested in Complaint.



VIII. Related Cases.


Date and Attorney Signature.
